                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                   CRIMINAL DOCKET NO. 5:11-CR-73-RLV-DSC


UNITED STATES OF AMERICA,                       )
                                                )
                                                )
                                                )                     ORDER
v.                                              )
                                                )
BRIAN R. TEAGUE,                                )
                                                )
                 Defendant.                     )


       THIS MATTER is before the Court on Defendant’s pro se “Motion to Substitute

Attorney” (doc. 580) filed October 24, 2013. The Court held a hearing in this matter on

November 6, 2013.

       Defendant’s Motion complains about his appointed counsel Brian M. Aus. The Court has

reviewed the Response (doc. 583) to Defendant’s letter filed by Mr. Aus. In his Response, Mr.

Aus adequately responds to Defendant’s contentions. Defendant’s contentions do not warrant

the removal of Mr. Aus as counsel.

       However, at the hearing Mr. Aus further represented to the Court that Defendant has sent

him correspondence demeaning counsel’s integrity.         While Mr. Aus did not proffer the

correspondence, he represented that the contents indicate that the attorney-client relationship is

irreparably damaged such that he cannot effectively represent the Defendant. Based upon this

representation, the Court relieves Mr. Aus as appointed counsel for Defendant. The Federal

Defender is directed to appoint new counsel.

       The Court notes that Defendant complained about his previous appointed counsel

Roderick M. Wright. See doc. 471.         After a hearing, the Court relieved Mr. Wright as


     Case 5:11-cr-00073-KDB-SCR          Document 588        Filed 11/08/13      Page 1 of 2
Defendant’s counsel under circumstances similar to those here. The Court warns Defendant that

continued unwarranted complaints about counsel may result in the Court finding that he has

forfeited his right to counsel in this matter. See United States v. Coleman, No. 3:09-CR-207,

2010 WL 4395358, at *5 (E.D.Va. October 28, 2010) (finding Defendant forfeited his right to

counsel by his dilatory tactics and unwillingness to work with his attorneys including filing three

pro se motions, communicating regularly with the Clerk’s office and dismissing his attorneys

when they failed to pursue his preferred courses of action).

       The Clerk is directed to send copies of this Order to counsel for the parties; and to the

Honorable Richard L. Voorhees

       SO ORDERED.

                                               Signed: November 7, 2013




    Case 5:11-cr-00073-KDB-SCR            Document 588          Filed 11/08/13    Page 2 of 2
